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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

In re:                                                                     CHAPTER 11

LIMETREE BAY SERVICES, LLC, et al. 1                                       CASE NO.: 21-32351

             Debtors.                                                      (Jointly Administered)


                                         CERTIFICATE OF SERVICE RE

Docket                   NOTICE OF RESCHEDULED SALE HEARING TO 10:00 A.M. ON
No. 884                  DECEMBER 21, 2021

Docket                   AGENDA FOR HEARING ON DECEMBER 7, 2021 AT 4:00 P.M.
No. 885                  CENTRAL TIME

Docket                   NOTICE OF WITHDRAWAL OF: (I) NOTICE OF DESIGNATION OF
No. 888                  WINNING BID AND BACK-UP BIDS AND SIXTH NOTICE OF
                         EXTENSION OF MILESTONES AND BID PROCEDURES
                         DEADLINES; AND (II) NOTICE OF EMERGENCY SALE HEARING

          I, Bradford Daniel, state as follows:

          1.        I am over eighteen years of age and I believe the statements contained herein are

true based on my personal knowledge. My business address is c/o BMC Group, Inc., 3732 West

120th Street, Hawthorne, California 90250.

          2.        On December 7, 2021, at the direction of Baker & Hostetler LLP, Counsel for the

Debtors and Debtors in Possession, copies of the above referenced documents were served on the

parties listed on the attached Exhibit A as described below and via the modes of service indicated

therein:




1
  The Debtors in these chapter 11 cases, along with the plast four digits of each Debtor’s federal tax identification number, as applicable,
are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining Holdings II, LLC
(1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay Refining Marketing, LLC
(9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.




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 Exhibit A             The Master Service List Parties referenced in Service List Nos. 76103
                       and 76104.


       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on the 7th day of December, 2021 at New York, New York.


                                                           /s/ Bradford Daniel
                                                              Bradford Daniel




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Limetree
Total number of parties: 268



Exhibit A - Limetree
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 Limetree

                                                                                                                 Page 3 of 11 Pages
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 Limetree

                                                                                                                     Page 4 of 11 Pages
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Exhibit A - Limetree
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 Limetree

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Exhibit A - Limetree
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 Limetree

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Exhibit A - Limetree
Svc Lst Name and Address of Served Party                                                                    Mode of Service

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 Limetree

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Exhibit A - Limetree
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Exhibit A - Limetree
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Exhibit A - Limetree
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